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                AFFIDAVIT IN SUPPORTOF A CRIMINAL COMPLAINT

                                LEONARD PEARSO RIDGE IV
                                   Date of Birth xx/xx/xxxx

I, Glenn G. Booth, being first duly sworn, depose and state as follows:

                                 AFFIANT’S BACKGROUND

1.     Your affiant, Glenn G. Booth, is a Special Agent assigned to the Federal Bureau of
       Investigation (FBI) and have been so employed for approximately 23 years. Currently, I am
       tasked with investigating criminal activity in and around the Capitol grounds on January 6,
       2021. As a special agent, I am authorized by law or by a Government agency to engage in
       or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
       criminal laws.

2.     I am familiar with the facts and circumstances set forth below from my personal
       participation in the investigation, my review of documentation and publicly available
       information, and my conversations with other law enforcement officers. Where the actions,
       statements, and conversations of others are recounted herein, they are recounted in
       substance and part, unless otherwise indicated. Where the affidavit contains items in
       quotation marks, those quotations are based on agent notes and may not be completely
       verbatim. Because this affidavit is being submitted for the limited purpose of supporting a
       criminal complaint, I am setting forth only those facts and circumstances necessary to
       establish probable cause for the issuance of the requested complaint. Unless otherwise
       indicated, all written and oral statements referred to herein are set forth in substance and in
       part, rather than verbatim.

                                    PURPOSE OF AFFIDAVIT

3.     This affidavit is in support of a criminal complaint charging LEONARD PEARSO RIDGE
       IV, aka Pearce Ridge, with violations of 18 U.S.C. § 1512(c) (obstructing an official
       proceeding); 18 U.S.C. §§ 1752(a)(1) and (2) (restricted building and grounds), and 40
       U.S.C. § 5104(e)(2) (disorderly conduct).

                     FACTUAL BASIS SUPPORTING PROBABLE CAUSE

4.     The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
       U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
       Capitol Police. Only authorized people with appropriate identification were allowed access
       inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
       closed to members of the public.

5.     On January 6, 2021, a joint session of the United States Congress convened at the United
       States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
       session, elected members of the United States House of Representatives and the United
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      States Senate were meeting in separate chambers of the United States Capitol to certify the
      vote count of the Electoral College of the 2020 Presidential Election, which had taken place
      on November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter,
      by approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve
      a particular objection. Vice President Mike Pence was present and presiding, first in the
      joint session, and then in the Senate chamber.

6.    As the proceedings continued in both the House and the Senate, and with Vice President
      Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
      Capitol. As noted above, temporary and permanent barricades were in place around the
      exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting
      to keep the crowd away from the Capitol building and the proceedings underway inside.

7.    At such time, the certification proceedings were still underway, and the exterior doors and
      windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
      Police attempted to maintain order and keep the crowd from entering the Capitol; however,
      shortly around 2:00 PM, individuals in the crowd forced entry into the U.S. Capitol,
      including by breaking windows and by assaulting members of the U.S. Capitol Police, as
      others in the crowd encouraged and assisted those acts.

8.    Shortly thereafter, at approximately 2:20 PM, members of the United States House of
      Representatives and United States Senate, including the President of the Senate, Vice
      President Pence, were instructed to—and did—evacuate the chambers. Accordingly, the
      joint session of the United States Congress was effectively suspended until shortly after 8:00
      PM. Vice President Pence remained in the United States Capitol from the time he was
      evacuated from the Senate Chamber until the sessions resumed.

9.    During national news coverage of the aforementioned events, video footage which appeared
      to be captured on mobile devices of persons present on the scene depicted evidence of
      violations of local and federal law, including scores of individuals inside the U.S. Capitol
      building without authority to be there.

10.   On or about January 9, 2021, the FBI received a tip from Confidential Witness (“CW1”).
      On January 21, 2021, the FBI conducted a voluntary interview of CW1. CW1 reported that
      CW1 had received a Snapchat video from a friend (“CW2”). CW2 had posted the video on
      an instant messaging group that both CW1 and CW2 were part of. The profile name on the
      Snapchat video stated, “PEARCE RIDGE.” CW1 provided a copy of the Snapchat video
      to the FBI.

11.   The Snapchat video consists of several snapchats from the user with the profile name
      “Pearce Ridge.” The first snap contains a caption “TEAR GAS” and the image of a crowd
      in an area I recognize as being outside of the Capitol. The second snap contains images of
      a number of people walking up steps into the Capitol. A loud voice is heard in the video
      yelling words to the effect of “let’s go, let’s go. Get in this Bitch.” The third video captures
      several people walking up a stairway inside the Capitol. In the fourth video, which depicts
      the inside of the Capitol, one can hear the words to the effect of “they’re gassing it, they’re
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gassing it” which I believe is a reference to tear gas being deployed within the Capitol
building. The voice then loudly yells “America First Bitch.” The fifth video starts with a
“selfie” style recording and shows a white male, with blonde hair, a camel colored jacket,
and a black shirt inside the Capitol with the caption, “Currently making history.” The video
then pans around the inside of the Capitol and a voice can be heard saying, “currently
making history.” A voice can be heard saying words to the effect of, “doing alright boys?
Just a little mace.” The video then flipped to a “selfie” style angle and the same white male,
with blonde hair, a camel colored jacket, and a black shirt, can be seen inside the Capitol.
Screenshots from some of these snapchat videos are depicted below
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12.   On or about January 21, 2021, Capitol Police confirmed a match of the male depicted in the
      Snapchat video with a male within the secure space in the Capitol rotunda during the riot.
      Images captured by Capitol Police CCTV depicting the same man inside the Capitol are
      provided below:
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13.   On January 25, 2021, a voluntary interview of CW2 was conducted by the FBI. When a
      mutual friend sent CW2 the Snapchat videos described above, CW2 recognized the white
      male with blonde hair, wearing the camel colored jacket depicted above as PEARCE
      RIDGE. CW2 personally knows PEARCE RIDGE from high school, which they attended
      together. CW2 also noticed that the name PEARCE RIDGE was located in the upper left-
      hand corner of the video. CW2 posted the Snapchat video of RIDGE to CW2’s online group
      page, of which CW1 is a member. CW2 provided RIDGE’s Snapchat username as
      PEARCE_RIDGEZ.
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14.   Database checks reveal that RIDGE resided around 4.5 miles from the high school he
      attended with CW2.

15.   On January 30, 2021, a voluntary interview of a third witness (“CW3”) was conducted by
      the FBI after CW3 had contacted the FBI through the FBI tip line. CW3 stated that RIDGE
      had made posts on Snapchat indicating that he was present at the Capitol on January 6, 2021.
      CW3 provided RIDGE’s Snapchat username as PEARCE_RIDGEZ. CW3 described
      RIDGE as having “platinum hair.”

16.   On March 9, 2021, another voluntary interview of CW2 was conducted by the FBI. During
      the interview, CW2 was shown four images taken from the Capitol Police CCTV. When
      asked if CW2 recognized anyone in the photographs, CW2 stated that the blond male
      wearing a tan jacket with a hood was the man CW2 knows as PEARCE RIDGE. CW2
      stated that CW2 was “very sure” that the male they identified in the images was RIDGE.
      CW2 further stated that CW2 had previously seen RIDGE wearing the same tan, or camel,
      colored jacket and it was a jacket RIDGE frequently wore.

17.   On February 8, 2021, a search warrant was served on Snap Inc., the owning company of
      Snapchat, for the contents of the Snapchat account bearing username PEARCE_RIDGEZ.

18.   On March 23, 2021, Snap Inc. provided records related to the account bearing username
      PEARCE_RIDGEZ and I have reviewed those records, which include, in part, photographs,
      videos, and geodata.

19.   The geodata provided by Snap Inc. in response to the search warrant consists of a
      spreadsheet titled Geo Locations. The spreadsheet includes date and timestamp information,
      paired with latitude and longitude data which can be plotted in a map. When I reviewed the
      data for January 6, 2021, the device accessing Snapchat on that date was doing so from
      points within the Washington D.C. area.

20.   Additionally, I found videos within the Snapchat records which match those posted to the
      PEARCE_RIDGEZ account as viewed by others mentioned previously in this affidavit. I
      also reviewed additional videos taken both outside of the capitol building and from within
      the Capitol building.

21.   Further, the following images were found within the Snapchat records dating from January
      6, 2021 and January 7, 2021:
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22.   The records received from Snapchat also included Snapchat texts between the user
      “pearce_ridgez” and other snapchat users. Some excerpts follow:

      On December 29, 2020, starting at approximately 16:24 UTC, the following exchange
      occurred:

         pearce_ridgez:      The election was completely stolen
         USER1:              And if they can steal it once they can steal it the next time too
                             Forever screwed if we don’t stop it this time
         pearce_ridgez:      Yeah man something needs to change
                             And something big will happen in this nation very soon
                             Either in our favor or theirs and its just the final boiling point
                             whoever gets the upper hand will just control the country honestly
                             [sic].
      A few lines later within the conversation:
         pearce_ridgez:      Yeah man, shit is gonna get really bad
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On January 6, 20201 starting at approximately 20:17 UTC, the following exchange
occurred:

   USER1:             Yoooo you legend
                      Bro someone just got shot in the neck there
                      Be careful bro you probably heard it but don’t know if u saw it
   pearce_ridgez:     I saw it
                      Yeah fucking nuts
                      I just made history
   USER1:             You are good, right bro?
   pearce_ridgez:     I got tear gased [sic] and maced five times

On January 7, 2021, starting at approximately 00:22 UTC, the following exchange occurred:

   pearce_ridgez:     Yeah just stormed the US capital [sic] for the first time in US history
                      and I was a part of it
   USER1:             to see it fall apart infront [sic] of their eyes
                      Yeah hopefully that goes down in history and isn’t erased with
                      everything they don’t like tho
                      But atleast [sic] you know you attended
   pearce_ridgez:     Yeah man so epic I have a video of me fighting riot police in the
                      capital [sic] building

On January 7, 2021, starting at approximately 00:26 UTC, the following exchange occurred:

   USER1:             Bro you are my hero that is so sick I love you were there
                      You are the alpha male
   pearce_ridgez:     Yeah man I got tear gassed and maced [sic] five times ngl it was
                      rough

A few lines later within the conversation:

   pearce_ridgez:     Just pray for me that I don’t get arrested by the fbi

On January 7, 2021, starting at approximately 16:15 UTC, the following exchange occurred:

   pearce_ridgez:     Yup I just walked into the capital [sic] to record and did not break
                      anything or steal anything
   USER2:             exactly to make a point

On January 7, 2021, starting at approximately 00:53 UTC, the following exchange occurred:

   pearce_ridgez:     We bro [sic] down McConnells door and nacy pelosios [sic] door and
                      raid the offices
   USER3:             Jesus Christ
                      Fair enough
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                             It’s understandable that you didn’t have anything tho [sic] cause it
                             wasn’t like you expected this to happen
                             Unless you did lol
         pearce_ridgez:      Yeah no I didn’t I just started recording shit when I went in there

      On January 10, 2021, starting at approximately 16:04 UTC, the following exchange
      occurred:

         USER1:              They are literally trying to wipe republicans from existence
         pearce_ridgez:      I hate to say it but like the time for us to fight is here

23.   On 4/8/2021, I served a Grand Jury subpoena to Google LLC requesting subscriber
      information for account PEARCERIDGEZ19@GMAIL.COM. On the same date I received
      a response from Google LLC. Within the response, GoogleLLC provided the account
      username of PEARCE RIDGEZ with a phone number of the account holder as 267-xxx-
      xxxx. I recognize that telephone number as being associated with RIDGE in public database
      checks. The email account was created on December 12, 2014 and the user last logged into
      the account on March 12, 2021. An additional email associated with the account is an email
      account that, based upon my review of numerous records, I believe is associated with
      RIDGE’s mother, who resides at the subject’s address.

24.   Based on the foregoing, your affiant submits that there is probable cause to believe that
      LEONARD PEARSO RIDGE IV violated 18 U.S.C. § 1752(a)(1) and (2), which makes it
      a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
      authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct
      of Government business or official functions, engage in disorderly or disruptive conduct in,
      or within such proximity to, any restricted building or grounds when, or so that, such
      conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
      functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
      “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
      building or grounds where the President or other person protected by the Secret Service,
      including the Vice President, is or will be temporarily visiting; or any building or grounds
      so restricted in conjunction with an event designated as a special event of national
      significance.

25.   Your affiant submits there is also probable cause to believe that LEONARD PEARSO
      RIDGE IV violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully
      and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
      disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the
      intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
      House of Congress, or the orderly conduct in that building of a hearing before, or any
      deliberations of, a committee of Congress or either House of Congress; and (G) parade,
      demonstrate, or picket in any of the Capitol Buildings.

26.   Your affiant submits that there is also probable cause to believe that LEONARD PEARSO
      RIDGE IV violated 18 U.S.C. § 1512(c), which makes it a crime to corruptly obstruct,
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       influence, or impeded (or attempt to do so) any official proceeding, including congressional
       proceedings.




                                                    FEDERAL BUREAU OF INVESTIGATION

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 20th day of April 2021.
                                                                         2021.04.20
                                                                         16:54:52 -04'00'
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
